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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             4:11CR3086

vs.
                                              MEMORANDUM AND ORDER
RUBEN CARRILLO-CASTELLON,

                  Defendant.


       This matter is before the Court on Castellon's pro se motion for return
of property (filing 109). Castellon alleges that the United States is in
possession of certain property belonging to him and seeks its return pursuant
to Fed. R. Crim. P. 41(g). As the Court will explain, the United States does
not have Castellon's property, and his motion will be denied.
       Previously, Castellon pled guilty to conspiring to distribute 50 grams or
more of a mixture or substance containing a detectable amount of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 846. See filings
1, 43, 44, 45, 48, and 51. On February 2, 2012, Senior Judge Richard G. Kopf
entered judgment, sentencing Castellon to 87 months' imprisonment.
       Castellon alleges only that when he was arrested, "the government"
seized $770.00 and a 1995 Sierra GMC that belonged to him. Filing 109 at ¶¶
3–4. The United States has filed an affidavit from William Snoad, an
investigator with the Lincoln Police Department (LPD) of Lincoln, Nebraska.
Filing 113-1. According to Snoad, on March 30, 2011, the Lincoln Police
Department seized a 1995 GMC pickup truck and $ 772.00 in cash from
Castellon. Filing 113-1 at pp. 1–3. No federal agency was involved in this
seizure. Filing 113-1 at ¶ 5. According to the LPD's records, both items are
still in possession of the LPD, neither item has ever left the LPD's property
room, and neither item was ever in possession of any federal agency. Filing
113-1 at ¶ 5. The Court gave Castellon an opportunity to respond to the
United States' evidence and he has failed to do so.
       A criminal defendant seeking the return of property bears the burden
of establishing lawful entitlement to the property. Jackson v. United States,
526 F.3d 394, 396 (8th Cir. 2008). This burden is often satisfied by showing
that the property was seized from the defendant's possession, as a person
from whom property is seized is presumed to have a right to its return. Id.
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The government must then establish a legitimate reason to retain the
property, e.g., by showing a cognizable claim of ownership or right of
possession adverse to the defendant's. Id. at 397. Additionally, a Rule 41(g)
motion is properly denied if the defendant is not entitled to lawful possession
of the seized property, the property is contraband or subject to forfeiture, or
the government's need for the property as evidence continues. Id.
       Assuming for the sake of argument that Castellon is entitled to return
of the money and vehicle seized, the United States has shown that it does not
possess either. The United States cannot return property that it does not
have. United States v. White, 718 F.2d 260, 261 (8th Cir. 1983). Accordingly,

      IT IS ORDERED:

      1.    Castellon's motion for return of property (filing 109) is
            denied; and

      2.    The Clerk's Office is directed to mail a copy of this order to
            Castellon at his last known address.

      Dated this 4th day of October, 2012.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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